       Case 2:20-cv-00313-RMP        ECF No. 8   filed 09/25/20   PageID.212 Page 1 of 2



1

2                                                                                FILED IN THE
                                                                             U.S. DISTRICT COURT
                                                                       EASTERN DISTRICT OF WASHINGTON

3
                                                                       Sep 25, 2020
4                                                                           SEAN F. MCAVOY, CLERK




5                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF WASHINGTON
6

7     WORTHY HOTELS, INC., a
      Washington corporation,                       NO: 2:20-CV-313-RMP
8
                                  Plaintiff,        ORDER OF DISMISSAL WITHOUT
9                                                   PREJUDICE
            v.
10
      FIREMAN’S FUND INSURANCE
11    COMPANY, a California
      corporation,
12
                                  Defendant.
13

14         BEFORE THE COURT is Plaintiff’s Notice of Voluntary Dismissal, ECF No.

15   7. Having reviewed the Notice and the record, the Court finds good cause to

16   approve dismissal. Accordingly, IT IS HEREBY ORDERED:

17         1. Plaintiff’s Notice of Voluntary Dismissal, ECF No. 7, is APPROVED.

18         2. Plaintiff’s Complaint is dismissed without prejudice and without costs to

19               any party.

20         3. All pending motions, if any, are DENIED AS MOOT.

21         4. All scheduled court hearings, if any, are STRICKEN.



     ORDER OF DISMISSAL WITHOUT PREJUDICE ~ 1
       Case 2:20-cv-00313-RMP     ECF No. 8    filed 09/25/20    PageID.213 Page 2 of 2



1          IT IS SO ORDERED. The District Court Clerk is directed to enter this

2    Order and provide copies to counsel, and close this case.

3          DATED September 25, 2020.

4
                                                 s/ Rosanna Malouf Peterson
5                                             ROSANNA MALOUF PETERSON
                                                 United States District Judge
6

7

8

9

10

11

12

13

14

15

16

17

18

19

20

21



     ORDER OF DISMISSAL WITHOUT PREJUDICE ~ 2
